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1 1 7128110 | assessment Centers Completed

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3 3 7/13/10 | State Exam Outline 2005 | 1805
4 4 7/13/10 | Boston Exam Outline 2005 1783
5 5 7/13/10 Boston Sergeant Examination Announcement 1767-1770

6 6 7/13/10 | Boston Exam Results 2005

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8 8 7/13/10 | Report and Analysis on BPD 2005 results 1963-83
9 9 7/13/10 | Exam Outline 2006 00101
10 | 10 7/13/10 | 2006 Exam Reading List 2418-19
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1] 11 | 713/10 Scoring Grid, 2008; E&E Rating Worksheet, 2006 | 90027; 00029

12 | 12 7/13/10 | Booklet pages for 2006 Exam 00075-76

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15 | 15 7/13/10 | 2006 Police Sgt. Exams Taken (p.7) 1318-1341
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21 21 7/13/10 | E&E Rating Worksheet, 2007 1359
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24 | 24 7/13/10 | 2008 State Exam Reading List LOP000004
25 | 25 7/13/10 | Update_sgt_promos_2005-07exams_030510
26 | 26 7/13/10 | 2008 Sgt Exam Data
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27 | 27 TSAO Discovery, March 22, 2010
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29 | 29 7/13/10 | Boston Sgt. Roster 07/07/10
30 30 7/13/10 | List of Boston Police Officers and Sergeants’,
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34 34 713/10 Discovery, April 29, 2010
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36 36 713/10 Discovery, May 7, 2010
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37 | 37 | 7II3/10 | Discovery, April 8, 2010
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50 Expert Report of Joel Wiesen, Ph.D.

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53 Third Supplemental Expert Report of Joel
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54 Report of Cassi Fields, Ph.D.
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56 Video or Audio Recording of June 8, 2010 City
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57 Commissioner Edward Davis, Fox 25 News,
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58 Brian Ballou, “Few Minority Police Supervisors,”

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Boston Globe, October 27, 2007

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Kevin Cull, “A Challenge For the Force,” Boston
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Brian Ballou, “Police Brass Diversity Lagging,”
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“Boston Police Face Discrimination Claims,
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